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                    Exhibit S
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         IN THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF CONNECTICUT

___________________________________
                                   )
BLACK WIDOW TERMITE &               )
PEST CONTROL CORP.,                 )
                                   )
               Plaintiff,           )
                                   )
  - vs -                           )
                                   )
                                   )
BLACK WIDOW PEST SPECIALIST, LLC, )
                                    )
               Defendant.           )
___________________________________)




     In accordance with the Connecticut Practice Book,

the deposition of MICHAEL CAMILINI, was taken at the law

offices of Farber, LLC, 1234 Summer Street, Stamford,

Connecticut, before Mercedes Marney, RPR, CT-LSR #530,

and a notary public in and for the State of Connecticut,

on Tuesday, September 24, 2024, at 10:00 a.m.
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                                                                       Page 2
 1                        A P P E A R A N C E S:
 2
 3   ATTORNEYS REPRESENTING THE PLAINTIFF:
 4   FARBER, LLC
 5         4 Corporate Drive, Suite 287
 6         Shelton, Connecticut 06484
 7         203.286.5140
 8   BY:   JONATHAN A. WINTER, ESQUIRE
 9         j.winter@farberllc.com
10   BY:   SAMANTHA GEROLD, ESQUIRE
11         samantha.gerold@farberllc.com
12
13
14   ATTORNEYS REPRESENTING THE DEFENDANT AND THE WITNESS:
15   COHEN & WOLF, PC
16         1115 Broad Street
17         Bridgeport, Connecticut 06604
18         203.337.4122
19   BY:   WILSON T. CARROLL, ESQUIRE
20         wcarroll@cohenandwolf.com
21   BY:   ARI J. HOFFMAN, ESQUIRE
22         ahoffman@cohenandwolf.com
23
24
25
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                                                                      Page 3
 1   -------------------- I N D E X --------------------

 2   TESTIMONY OF:        MICHAEL CAMILINI

 3   EXAMINATION                                                     PAGE

 4       Direct examination by Mr. Winter                                7

 5

 6   ------------- INFORMATION REQUEST -----------------

 7   INSTRUCTION TO WITNESS:                  (None)

 8   REQUEST FOR PRODUCTION:                  (None)

 9   INFORMATION TO BE FURNISHED:             (None)

10   STIPULATIONS:                            (None)

11   MOTIONS:                                 (None)

12   MARKED FOR RULING:                       (None)

13

14   ----------------- E X H I B I T S -----------------

15   MARKED FOR IDENTIFICATION                                       PAGE

16   Plaintiff's Exhibit 36                                              9

17   Notice of deposition

18   Plaintiff's Exhibit 21                                             20

19   PREVIOUSLY MARKED EXHIBIT:
     Example of a form estimate or agreement
20   provided to customers

21   Plaintiff's Exhibit 16                                             27

22   PREVIOUSLY MARKED EXHIBIT:
     A document displaying the Black Widow Pest
23   Specialists, LLC, logo

24

25
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                                                                      Page 4
 1   ----------------- INDEX CONTINUED -----------------

 2   ----------------- E X H I B I T S -----------------

 3   MARKED FOR IDENTIFICATION                                       PAGE

 4   Plaintiff's Exhibit 20                                             28

5    PREVIOUSLY MARKED EXHIBIT:
     A photograph
6
     Plaintiff's Exhibit 27                                             43
7
     PREVIOUSLY MARKED EXHIBIT:
8    Photograph of a Black Widow Pest Specialists
     company truck
9
     Plaintiff's Exhibit 25                                             51
10
     PREVIOUSLY MARKED EXHIBIT:
11   A document containing the Black Widow Pest
     Specialists logo that appears on Plaintiff's
12   Exhibit 16

13   Plaintiff's Exhibit 24                                             58

14   PREVIOUSLY MARKED EXHIBIT:
     Text messages, with photographs
15
     Plaintiff's Exhibit 34                                             76
16
     PREVIOUSLY MARKED EXHIBIT:
17   Defendant's interrogatories

18

19

20

21

22

23

24

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                                                                       Page 5
 1                        S T I P U L A T I O N S

 2

 3          It is stipulated by counsel for the parties

 4   that all objections are reserved until the time of

 5   trial, except those objections as are directed to

 6   the form of the question.

 7
            It is stipulated and agreed between counsel
 8
     for the parties that the proof of the authority of
 9
     the notary before whom this deposition is taken is
10
     waived.
11

12          It is further stipulated that any defects

13   in the notice are waived.

14
            It is further stipulated that the reading and
15
     signing of the deposition transcript by the witness
16
     may be signed before any notary public.
17

18
                               * * * * * * *
19

20

21

22

23

24

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                                                                          Page 6
 1                Mr. Camilini, I need to swear you in.
 2   Would you raise your right hand.
 3                Do you solemnly swear the testimony you're
 4   about to give will be the truth, the whole truth,
 5   and nothing but the truth, so help you God?
 6                THE WITNESS:       I do.
 7                THE COURT REPORTER:            You can put your hand
 8    down.
 9                For the record, I need to ask you your
10    name and address.
11                THE WITNESS:       Michael Camilini, 375 Walnut
12   Hill Road in Thomaston.
13                THE COURT REPORTER:            Usual stips?
14                MR. WINTER:       Sure.
15                MR. CARROLL:       Yeah.       And we'll read and
16   sign.
17                              -    -      -
18                 M I C H A E L      C A M I L I N I
19   called as a witness, having been first duly sworn by
20    a notary public of the State of Connecticut, was
21               examined and testifies as follows:
22   ///
23   ///
24   ///
25   ///
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                                                                              Page 7
 1                              -       -       -
 2                M I C H A E L         C A M I L I N I,
 3    called as a witness, having been duly sworn in by
 4   the court reporter, a notary public commissioned by
 5   the State of Connecticut, is examined and testifies
 6                             as follows:
 7                             -    -       -
 8                         DIRECT EXAMINATION
 9                             -    -       -
10   BY MR. WINTER:
11          Q.    Good morning, Mr. Camilini.                    Thanks for
12   coming today.
13                I represent Black Widow Termite & Pest
14   Control Corp., the plaintiff in this lawsuit.
15                Are you represented by counsel today?
16          A.    Yes.
17          Q.    Is that Wilson Carroll?
18          A.    Yes.
19          Q.    So I'll just go over kind of the process
20   what's going to happen.
21                You know, I'll ask you some questions, the
22   court reporter will type down what I say.                        And then
23   I'll ask you to -- then you'll answer the questions
24   and she'll type down what you say.
25                Do you understand that?
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                                                                      Page 8
 1          A.    Yes.
 2          Q.    And so when you answer, you need to give
 3   verbal answers because she can't take down head nods
 4   and things like that.
 5          A.    Right.
 6          Q.    And then, so it's easier for her, we'll
 7   try to -- I'll try to end my question, then you'll
 8   answer, I'll let you finish your answer, so that
 9   we're not talking over each other.             It makes it
10   easier for her.
11          A.    Gotcha.
12          Q.    From time to time your attorney may
13   object.     Unless he instructs you not to answer after
14   the objection, please don't answer the question.
15                Do you understand that?
16          A.    Yep.
17          Q.    If you ever need a break, just let me
18   know, we can take one.         We'll just ask that if
19   there's a pending question, that you answer that
20   question, and then we can take a break?
21          A.    Okay.
22          Q.    Is there any reason that you cannot
23   testify truthfully today?
24          A.    No.
25          Q.    Okay.     And then one other thing is, I will
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                                                                     Page 9
 1   hand you some documents from time to time.                They'll
 2   be marked with exhibit numbers, things like that.
 3   So you're welcome to look through the documents, and
 4   then I'll have some questions for you about either
 5   the documents or just other things.
 6               Do you understand that?
 7         A.    Yes.
 8            (Plaintiff's Exhibit 36 was marked for
 9       identification as of this date.)
10   BY MR. WINTER:
11         Q.    So in front of you is a document.
12               Do see that it's been marked Exhibit 36 on
13   the bottom?
14         A.    Yeah.
15         Q.    And in the first paragraph, third line, do
16   you see your name there?
17         A.    I do.
18         Q.    So do you understand that you're here for
19   your deposition in the lawsuit, Black Widow
20   Termite & Pest Control Corp. versus Black Widow Pest
21   Specialists?
22         A.    I do.
23         Q.    And you are currently employed by
24   Black Widow Pest Specialists, LLC; is that correct?
25         A.    I am.
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                                                                     Page 10
 1         Q.     When did you receive this document, PX 36?
 2         A.     Today.
 3         Q.     Had you seen it before today?
 4         A.     Uh-uh.
 5         Q.     Just say "no" because she can't get
 6   "uh-uhs"?
 7         A.     No.
 8         Q.     Okay.
 9                Did you do anything to prepare for this
10   deposition?
11         A.     Other than speaking with my lawyer, no.
12         Q.     When did you speak with your lawyer?
13         A.     Today.
14         Q.     For how long?
15         A.     About an hour.
16         Q.     Was that in person or by phone?
17         A.     In person.
18         Q.     At this office in the conference room next
19   to me?     Is that --
20         A.     Uh-huh -- yes.
21         Q.     Were you shown any documents?
22         A.     Other than my notice of deposition, no.
23         Q.     Did you review any documents prior to this
24   deposition --
25         A.     No.
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                                                                     Page 11
1          Q.     -- to prepare?
 2         A.     No.
3          Q.     Did you speak with anybody, other than
4    your attorney, regarding this deposition?
5          A.     No.
6          Q.     Did you speak with Blake Black concerning
7    this deposition?
8          A.     No.
9          Q.     How did you learn that you were going to
10   come here and have a deposition?
11         A.     Well, I mean, obviously I was told that
12   I was going to have a deposition.              But anything
13   regarding the case, we kept it completely quiet
14   until it was over with.          We didn't even speak
15   personally.
16         Q.     Got it.
17                So, basically, you were told, here's the
18   day of your deposition, show up here, and that's
19   basically it?
20         A.     Correct.
21         Q.     All right.
22                Are you originally from Connecticut?
23         A.     I am.
24         Q.     Where did you grow up?
25         A.     Ansonia.
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                                                                    Page 12
 1          Q.    And you now live in Thomaston; is that
 2   correct?
 3          A.    Uh-huh -- yes.
 4          Q.    "Yes"?
 5          A.    Sorry.
 6          Q.    How long have you worked for Black Widow
 7   Pest Specialists?
 8          A.    About a year and a half now, a little over
 9   a year.     I can't recall what my actual hire date
10   was.
11          Q.    And at any point during your employment,
12   have you previously discussed this lawsuit with
13   Blake Black or anybody else?
14          A.    No.
15          Q.    Were you aware of this lawsuit?
16          A.    Just that he was going to court.             Nothing
17   specific.
18          Q.   Got it.
19               Prior to your employment with Black Widow
20   Pest Specialists roughly a year and a half ago,
21   where were you employed?
22          A.   Catseye.
23          Q.   What is Catseye?
24          A.   Another pest control company.
25          Q.   How long were you employed at Catseye?
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                                                                    Page 13
 1         A.    Two years.
 2         Q.    And prior to Catseye were you employed?
 3         A.    Yes.
 4               I was actually doing landscaping before
 5   that.
 6         Q.    Was Catseye your first employment in the
 7   pest control industry?
 8         A.    It was.
 9         Q.    In terms of prior to the -- so how long --
10   what was the name of the landscaping company?
11         A.    Hennessey Landscaping, LLC.            It was just
12   one of my buddies' businesses.
13         Q.    And how long were you employed there?
14         A.    Probably less than a year.
15         Q.    And in terms of your level of education,
16   where -- what's the highest degree or level of
17   education you have obtained?
18         A.    In general?
19         Q.    Yeah.
20         A.    High school.
21         Q.    Did you do any formal education after
22   high school?
23         A.    No.
24         Q.    So then would you agree that it's mostly
25   on-the-job training that you've obtained in the pest
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                                                                     Page 14
 1   control industry?
 2         A.     No.     I mean, I've gone through plenty of
 3   courses and certifications.            I'm sure a lot of it is
 4   hands-on, especially with exclusion.               A lot of is
 5   hands-on work, and it's something that you learn by
 6   doing it.
 7                But, yeah, I'm sure you're familiar with
 8   the industry by now.         You know, you need to go
 9   through a fair share of courses and licensing and
10   whatnot.
11         Q.     So when did you complete those courses and
12   licensing?
13         A.     My NWCO license I completed while I was at
14   Catseye.     It's required before doing any form of
15   wildlife exclusion.
16                My operator license I acquired maybe
17   two months after working for Blake, because I never
18   did pass it at Catseye.
19         Q.     To your knowledge, is anybody else at
20   Black Widow Pest Specialists certified as an
21   operator?
22         A.     A pest operator?
23         Q.     Yeah.
24         A.     Yes.
25         Q.     Who would that be?
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                                                                    Page 15
1          A.     Jay.    Nate.   Brandon.      I think that's it.
 2                (Reporter clarification.)
3          Q.     Jay, Nate, and Brandon, you said?
4          A.     Uh-huh.
5          Q.     Are those all technicians employed by
6    Black Widow Pest Specialists, LLC?
7          A.     They are.
8          Q.     Would you also consider yourself to be a
9    technician?
10         A.     I would.
11         Q.     To your knowledge, does Blake Black have
12   an operator license?
13         A.     I -- yeah, he has a supervisor.
14         Q.     What's the difference between supervisor
15   and operator?
16         A.     So, the supervisory, you have to go
17   through like extensive studying and tests.                 I've
18   never seen what the course actually entails, but
19   I've heard it's a pretty hard test.              But in order
20   for you to have operator's work underneath you, you
21   have to be a licensed supervisor.
22         Q.     And what sort of things do you learn in
23   the course of, let's talk about the operator
24   license?     What's kind of examples of things you
25   learn?
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                                                                     Page 16
 1         A.    What pesticides to use, where, why not.
 2               How to treat, where to treat.
 3               What to be aware of, especially if you're
 4   spraying insecticides; wind drift, you know,
 5   neighboring yards.
 6               Pretty much everything.
 7         Q.    And then the new -- was it N-E-W-C-O?
 8         A.    NWCO (nuisance wildlife control operator).
 9         Q.    And you said you obtained that while you
10   were working at --
11         A.    Catseye.
12         Q.    Catseye?
13         A.    Uh-huh.     And then you renew it.
14         Q.    How often do you renew it?
15         A.    Every two years.          And every year you have
16   to submit a NWCO report for --
17               (Reporter clarification.)
18               (The record was read back.)
19               THE WITNESS:      You have to submit a NWCO
20   report.    N-W-C-O.
21   BY MR. WINTER:
22         Q.    So talk about the operator license.
23               Was there formal coursework in terms of
24   either in a classroom or an online classroom
25   setting?
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                                                                      Page 17
1          A.     It's all online.          For your operator's
 2   license it's online course.
 3         Q.     And then the NWCO one, is that the same?
4          A.     In-person course.          You actually have to
 5   take an in-person course, and then take the test
 6   online.
 7         Q.     Where are -- well, let's talk about the
 8   NWCO course.        Where is that course offered?
 9         A.     Multiple locations.
10                I actually took mine at Cabela's, by
11   Hartford, the actual town that's in.
12         Q.     And then the operator license, you said
13   that was online?
14         A.     Uh-huh.     I think it's through the DEEP
15   website, or something like that.
16         Q.     D-E-E-P?
17         A.     Yeah.     They usually -- when you apply for
18   it, they send you links.          And you just go through
19   the links in your e-mail.
20         Q.     So DEEP would be the state --
21         A.     Department of Environmental.
22            (Reporter interruption.)
23         Q.     So the DEEP would be the state of
24   Connecticut's environmental regulators; is that
25   correct?
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                                                                    Page 18
 1         A.    Correct.
 2         Q.    So I think you said you did not have pest
 3   control experience before working with Black Widow
 4   Pest & Wild -- excuse me -- Black Widow Pest
 5   Specialists, but you had wildlife experience.                 Is
 6   that accurate?
 7         A.    Yes, it is.
 8         Q.    Does Catseye, to your knowledge, do pest
 9   control?
10         A.    They do.
11         Q.    And so I see you're wearing a shirt today
12   that includes a logo.
13               Is that your -- the company's logo for
14   Black Widow Pest Specialists, LLC?
15         A.    It is.
16         Q.    Do you ordinarily wear shirts like that or
17   contain that logo to every job you go to?
18         A.    We do.
19         Q.    Is that a company policy?
20         A.    It is.
21         Q.    Do you have any understanding or idea why
22   that is company policy?
23               MR. CARROLL:      Objection.
24               THE WITNESS:      I would assume it's just
25   uniform, as any in other company.
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                                                                      Page 19
 1   BY MR. WINTER:
 2         Q.      So would you agree with me that that
 3   company logo is generally always visible to
 4   customers that you go and service their houses?
 5         A.      Sure.
 6         Q.      Does part of your work as a technician
 7   involve doing any sales functions?
 8         A.      Yes.
 9         Q.      Could you elaborate on that, please.
10         A.      I do like new inspections and quarterly
11   sales, and stuff like that.
12                 I deal with a lot of the new customers and
13   new starts, stuff like that.
14                 And I don't do any customer service.                But
15   I do -- I will talk with customers, you know, after
16   if they have questions.
17         Q.      So new inspections; what do you mean by a
18   "new inspection"?
19         A.      As in a new customer that would reach out
20   for service.         Someone that we don't already service.
21         Q.      And so you would go to their location, you
22   would walk around or inspect it, and see what
23   services you could provide to them, or that they may
24   need?      Is that --
25         A.      Correct.     So -- that's it.
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                                                                    Page 20
 1         Q.     And then after that inspection, would you
 2   work up, say, an estimate?
 3         A.     Yes.
 4                (Plaintiff's Exhibit 21 was previously
 5   marked.)
 6   BY MR. WINTER:
 7         Q.     I'm handing you PX 21 which was marked
 8   yesterday.
 9                So after you do a new inspection, is this
10   an example of something that you would generate and
11   give to the customer?
12         A.     It is.
13         Q.     And do you personally generate these types
14   of documents?
15         A.     So we have pre-write-ups, and then you add
16   into it anything specific, you know, to the home.
17         Q.     So there's, basically, a form estimate or
18   agreement that you would have, that you would then
19   customize to whatever the inspection showed you.                  Is
20   that accurate?
21         A.     Yes.
22         Q.     And do all of those estimates include the
23   same logo that is on your shirt?
24         A.     Yes.
25         Q.     Do you have any knowledge of why that
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                                                                     Page 21
1    would be on the estimate?
2          A.     Recognition, I would assume.
3          Q.     What do you mean by "recognition"?
4          A.     I mean, obviously, our name is on it.                But
5    seeing our company logo, knows exactly what -- shows
6    exactly were it's coming from.            A lot of times
7    people will just skim past something.
8          Q.     Got it.
9                 So you want to make sure the customer
10   knows they're purchasing services from a company
11   called Black Widow; is that right?
12         A.     Sure.
13         Q.     So after you mentioned new inspections,
14   I believe you mentioned quarterly sales?
15         A.     Uh-huh -- yes.
16         Q.     Does quarterly sales involve a similar
17   estimate or agreement of some type?
18         A.     Yes.
19                Whenever we're setting up a quarterly,
20   anytime that any rodenticide or any kind of
21   pesticide is placed, there has to be a signed
22   agreement.
23         Q.     And so what's the -- what's an example of
24   the types of services that would be involved in a
25   quarterly sales?
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                                                                    Page 22
 1         A.     Rodent baiting.      Foundation treatments.
 2   Depending on the level of quarterly, tick,
 3   mosquitoes, termite baiting.          Pretty much all your
 4   typical pest service.        And baiting -- gel baiting.
5          Q.     And so in the situation where you're --
6    for doing a quarterly sales function, would you,
7    like a new inspection, go to visit the customer's
8    location?
9          A.     Yes.
10                So typically they'll call for an issue.
11   And you go, thoroughly, look the house through, top
12   to bottom.
13         Q.     And then from that you would generate a
14   document, such as the estimate in front of you, that
15   would summarize what the proposal is to do?
16         A.     Correct.
17         Q.     Can you turn to last page of PX 21.
18                Is that an example of something that looks
19   like quarterly sales?
20         A.     Yes.
21                This -- this one is an estimate, though.
22   This is one that's sent for someone that's
23   undecided.     This is what they'll receive before
24   signing.
25         Q.     I got it.
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                                                                     Page 23
 1               And then --
 2         A.    This is not an invoice.          This is a
 3   generated estimate.
 4         Q.    Got it.
 5               And then after the generated estimate,
 6   what type of document would be generated for them to
 7   agree to --
 8         A.    They need to sign -- sorry.
 9               They need to sign it.
10         Q.    They need to sign the last -- that
11   document that's in front of you, or a different
12   document gets created?
13         A.    So the -- when they get sent an estimate
14   via e-mail, they'll be able to click and open the
15   link, and it will generate it to an invoice.                  They
16   can sign the invoice, leave a deposit.                 And then --
17         Q.    Got it.
18         A.    -- it turns it into a signed document for
19   their contract.
20         Q.    Understood.
21               And when you click through the link, you
22   said an invoice is generated?
23         A.    Uh-huh -- yes.
24               Sorry.     I'm new to this.
25         Q.    No worries.      We'll -- so -- okay.
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                                                                    Page 24
 1               So an invoice is generated.
 2               Does the invoice also include the
 3   Black Widow logo that is on your shirt and on the
 4   first page of the exhibit in front of you?
 5         A.    I think so.
 6         Q.    Have you seen those invoices before?
 7         A.    I see them on my end, but I've never seen
 8   them through the customer e-mail.            So I --
 9         Q.    Got it.
10               Are the invoices different than what's on
11   the first page of PX 21?
12         A.    No.
13               No, other than, this one -- this one isn't
14   one that we started.        So it's an actual generated
15   invoice, and job that was set up, will have material
16   added to it.
17         Q.    When you say "material added to it," what
18   does that mean --
19         A.    Anything you use; rodenticides, baits,
20   insecticides.
21         Q.    And when you say "quarterly sales," are
22   you then visiting that customer location once per
23   quarter or does it vary?
24         A.    Depends on the severity of the problem.
25               If it's just a minor rodent issue, we'll
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                                                                    Page 25
 1   probably go back every quarter.
 2                If it's a bad rodent issue, and we're
 3   setting it up initially, we'll probably go back a
 4   couple times within the first two months to make
 5   sure that we stay on top of it.
 6         Q.     And then after you go back several times
 7   for the first two months, would you then hopefully
 8   switch to a more quarterly --
 9         A.     Correct.
10         Q.     I think you said earlier that you don't do
11   customer service, but you talk to customers,
12   I guess, on the jobsite.         Is that accurate?
13         A.     So I don't answer any -- like, you know,
14   I don't answer new incoming calls.             You know, like
15   the phones are ringing, I'll deal with new
16   customers.
17                But I only -- I'll only return calls to
18   like customers that have questions.             If we're going
19   to be doing a big job, and they want more info on
20   it, you know, deeper information on the work that
21   we're going to be doing, I'll return calls to those
22   customers, just to give them a rundown.
23         Q.     When you return those calls to the
24   customer, how do you identify yourself?
25         A.     Mike from Black Widow Pest.
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                                                                     Page 26
1          Q.     And do you always identify yourself as
 2   Mike from Black Widow Pest?
 3         A.     Yeah.     Mike from Black Widow Pest
4    Specialists.
5          Q.     And is that because there's a company
6    policy to refer to your personal name, and then the
7    name of the company right after that, when you talk
8    to customers?
9          A.     No.     I just think it's good for them to
10   know who they're answering the phone to.                 I could
11   just be Mike from anywhere.
12         Q.     So it's important to make the connection
13   between the company Black Widow, and so they know
14   who they're buying from; is that correct?
15         A.     Sure.
16         Q.     So when you said you don't do customer
17   service, is that -- what you mean by that is, that
18   you don't answer kind of the initial call from the
19   customer?
20         A.     Correct, correct.
21         Q.     Okay.
22                And then other than the examples you just
23   mentioned, where you're calling a customer,
24   identifying yourself as Mike from Black Widow Pest,
25   and answering any questions they may have about
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                                                                     Page 27
1    service that will be performed, do you have other
 2   interfaces with customers?
 3         A.     Other than face-to-face, no.
4          Q.     And those face-to-face interactions, are
5    you always wearing a shirt or some form of apparel
6    that shows the Black Widow logo on it?
7          A.     I am.
8                 (Plaintiff's Exhibit 16 was previously
9    marked.)
10   BY MR. WINTER:
11         Q.     When I refer to the "Black Widow logo,"
12   just for the record, that refers to what's shown on
13   PX 16; is that correct?
14         A.     Correct.
15         Q.     And that's what you're referring -- we're
16   referring to throughout this deposition so far?
17         A.     Correct.
18         Q.     And so when I say the "Black Widow logo"
19   from here on out, you understand that I'll be
20   referring to what's on PX 16?
21         A.     I do.
22         Q.     Okay.
23                So looking at the logo, it includes the
24   words "Black Widow" in a bold font of the largest
25   size of any other font.          And then below it it says,
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                                                                     Page 28
1    "Pest Specialists," and then below that a phone
 2   number, both in smaller fonts below "Black Widow."
 3   And then the logo also includes a drawing of a
 4   spider.
 5                Is that an accurate description of the
6    logo?
7          A.     I would say so.
8          Q.     Would you agree with me that the color
9    scheme is black and red in that logo?
10         A.     It is.
11         Q.     The company logo shown on PX 16, it
12   doesn't include colors other than black and red and
13   white.     Is that accurate?
14         A.     It is.
15         Q.     Have you ever looked at your company's
16   website before?
17         A.     I have.
18                (Plaintiff's Exhibit 20 was previously
19   marked.)
20   BY MR. WINTER:
21         Q.     I'm handing you PX 20.
22                Is that an accurate depiction of your
23   company's website?
24         A.     Yeah.     One section of it, yeah.
25         Q.     And at the top left of that photo, do you
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                                                                    Page 29
 1   see a different variant of the logo on PX 16?
 2         A.    In this top left right here?
 3         Q.    Yeah.
 4         A.    I mean, I guess you could say it's a
 5   different variant; just shrunken down.
 6         Q.    And the spider drawing is to the left of
 7   the words "Black Widow"; is that correct?
 8         A.    Correct.
 9         Q.    Are you aware of any other variations of
10   the logo?
11         A.    No.
12         Q.    Have you ever tried to access that website
13   from a state outside of Connecticut?
14         A.    Nope.
15         Q.    Are you aware of any restrictions that
16   would prevent somebody from accessing that website
17   outside of the state of Connecticut?
18         A.    Nope.
19         Q.    To your understanding, does -- does the
20   company work for -- market to the general public?
21               MR. CARROLL:      Objection.
22               THE WITNESS:      I don't know.
23   BY MR. WINTER:
24         Q.    Do you service the general public?
25         A.    Yes.
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                                                                     Page 30
 1         Q.    Does your company also service commercial
 2   establishments?
 3         A.    We do.
 4         Q.    When I say "commercial establishments,"
 5   can there be -- would you consider a large
 6   residential complex a commercial establishment?
 7         A.    Yes.
 8         Q.    And then would you consider another
 9   example of commercial establishment like a business
10   or a warehouse, something like that?
11         A.    Yes.
12         Q.    Are there any other commercial
13   establishments that wouldn't fall into those
14   two categories?
15         A.    Restaurants.
16         Q.    Does -- have you serviced restaurants
17   before in connection with working with Black Widow
18   Pest Specialists, LLC?
19         A.    Only to fill in.          One of our -- one of our
20   other guys does most of the commercial pests.                  So
21   only on days where he doesn't come in or his route
22   got changed.
23         Q.    Who is that other person who does
24   commercial --
25         A.    (Indiscernible.)
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                                                                    Page 31
1             (Reporter clarification.)
2                 THE WITNESS:     Jay.
3    BY MR. WINTER:
4          Q.     Is there anybody else that does commercial
5    pest?
6          A.     Brandon.
7          Q.     Anybody else?
8          A.     Blake.
9          Q.     Anybody else?
10           A.   (Witness shakes head.)
11           Q.   You have to say "no"?
12           A.   No.
13           Q.   Sorry.
14                Have you ever been to the Success Village
15   before?
16           A.   I have.
17           Q.   Do you go -- do you personally go there
18   frequently?
19           A.   Not frequently.
20           Q.   How often would you say in the last
21   year -- or, in the last -- since January have you
22   been there?
23           A.   Twice.
24           Q.   To your knowledge, do other technicians at
25   your company go there frequently?
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                                                                     Page 32
1          A.     They do.
 2         Q.     How frequently would you say?
3          A.     Sometimes weekly, sometimes biweekly.
4          Q.     Is -- would you consider Success Village
5    to be a large customer of Black Widow Pest
6    Specialists, LLC?
7          A.     No.
8          Q.     Why do you say that?
9          A.     They definitely have a lot work, but not
10   consistent.        It tapers.
11         Q.     Who would you consider to be an example
12   of a large customer of Black Widow Pest
13   Specialists, LLC?
14         A.     More property managers than Success
15   specifically.
16         Q.     What -- when you say "property managers,"
17   what types of properties do those property managers
18   manage, to your knowledge?
19         A.     Like rentals, duplexes.
20         Q.     And so are those property managers
21   engaging your company for quarterly sales or other
22   situations?
23         A.     Sure, some of them.
24         Q.     So both?
25         A.     Yeah.
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                                                                    Page 33
 1         Q.    Do you -- do you spend a lot time going
 2   and working for prop -- working on properties that
 3   those property managers call you-all to work for?
 4         A.    Depends.     Some of the property managers
 5   want just your typical pest service.              Some we do
 6   full exclusion for.
 7               If we -- if these property managers are a
 8   typical pest customer, and they have wildlife
 9   issues, then they become an exclusion customer while
10   they're a customer as well.
11         Q.    When you say a "typical pest customer,"
12   what specifically in terms of the services do you
13   mean by that?
14         A.    Like your small rodent baiting, interior
15   insect baiting, one-time services.             Stuff like that.
16         Q.    And so is a typical pest customer, to your
17   knowledge, on a quarterly sales or subscription
18   model?
19         A.    Not always.
20         Q.    So it would vary, depending on what the
21   needs are of the customer?
22         A.    Correct.
23         Q.    You mentioned earlier, when we were
24   talking about customer service and when you're
25   calling customers back, how does -- how does it get
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                                                                    Page 34
 1   to be that you are the one to call that customer
 2   back?
 3         A.      I guess I'm the most knowledgeable in most
 4   exclusion, which is mostly, like, the customers have
 5   questions about -- a lot -- you know, a lot of
 6   customers will have questions about their, you know,
 7   rodent baiting or rodenticides or chemicals,
 8   whatever.
 9                 But for the most part, all the callbacks
10   that I have to do are requiring like large repairs;
11   how we're going to do it, what we're going to do,
12   what we're going to use, et cetera.
13         Q.      What's an example of a recent large repair
14   that you've done.
15         A.      Like a bat exclusion.
16         Q.      Can you explain to me what types of things
17   are involved in a bat exclusion?
18         A.      So when you do a bat exclusion, you have
19   to close up every little small nook or cranny on the
20   house, and it varies per house, obviously.                Some
21   have stone on the front, some are vinyl, some are
22   wood.      Some have a metal roof.
23                 So installing stuff in those roof
24   intersections or closing off those stone faces, you
25   know, like I said, every house varies.
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                                                                    Page 35
 1         Q.    In terms of routing or where to go on a
 2   daily basis, how do you -- how do you know where to
 3   go?
 4         A.    I look at my schedule.
 5         Q.    How is that schedule generated?
 6         A.    Through the office.
 7         Q.    Who provides you that schedule?
 8         A.    Our office girl.
 9         Q.    Who is that?
10         A.    Kara [ph.].
11         Q.    Do you know how the schedule is generated?
12         A.    Through incoming calls.          And then we have
13   a software that we can put all of the stops on, and
14   it will show us efficient routing.             And then we can
15   kind of move it around to make it make sense for the
16   techs.
17         Q.    And what is that software?
18         A.    GorillaDesk.
19         Q.    Other than route and accessing the
20   GorillaDesk software for your daily routes, what
21   other interface do you have with the GorillaDesk
22   software?
23         A.    Other than generating estimates and stuff
24   for customers, I don't.
25         Q.    And when you say "generating estimates,"
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                                                                    Page 36
 1   you're referring to something like what -- PX 21,
 2   which is in front of you?
 3         A.    Yes.
 4         Q.    Now, you have -- in connection with going
 5   along these routes and performing the services, do
 6   you have any materials that you use?
 7         A.    Like building materials?
 8         Q.    Just --
 9         A.    In general?
10               Depends on what kind of job you're talking
11   about.
12         Q.    Where do you get those materials from?
13         A.    Any local distributor.
14         Q.    And when you start your route during the
15   day, do you start it from Thomaston and go directly
16   to a customer, or do you go to a central location to
17   pick things up?
18         A.    So we have a central location.             Typically,
19   once a week, we'll stock the trucks.              After that, we
20   go directly to jobs from our houses.
21         Q.    And the central location, what is that?
22         A.    That would be 108 Curtiss --
23         Q.    And that's --
24         A.    -- in Naugatuck.
25         Q.    And that's Blake's personal residence; is
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                                                                    Page 37
 1   that right?
 2         A.    It is, it is.
 3         Q.    Is there a warehouse or storage or some
 4   sort of facility there?
 5         A.    Yeah.    We have a detached-lock back
 6   storage shed, marked and labeled.
 7         Q.    And then you mentioned a truck.
 8               Are you provided with a company truck?
 9         A.    I am.
10         Q.    Does that company truck contain or show
11   the logo shown on PX 16?
12         A.    It does.
13         Q.    Do you believe that helps your company
14   brand become visible to customers?
15         A.    I believe it helps any company.
16         Q.    Why do you say that?
17         A.    Recognition.
18         Q.    Why is the recognition important?
19         A.    So they know who they're looking at, or
20   who they're hiring, or who's pulling in their
21   driveway.
22         Q.    In your typical day, how many locations do
23   you tend to go to?
24         A.    Any from two to fifteen.           As many I can
25   squeeze in.
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                                                                    Page 38
 1         Q.    And so if you're talking about the higher
 2   end of fifteen, do you tend to be doing, I guess,
 3   what you called the "typical pest customer" work?
 4         A.    Yeah.    It could be just a quick pest
 5   service, like a residential pest service.                Or
 6   usually it's -- for me, it's all like new
 7   inspections.
 8         Q.    And so when you -- when you say -- so if
 9   you go out and try to do multiple new inspections in
10   one day, those are all for new customers that you
11   have not yet -- they have not yet hired the company;
12   is that correct?
13         A.    Correct.
14         Q.    So that's your sales function that we
15   talked about earlier?
16         A.    Correct.
17         Q.    Have you ever serviced any locations
18   outside of Connecticut?
19         A.    No.
20         Q.    Are there any standard service fees or
21   pricing guidelines that you use in the sales
22   process?
23         A.    We charge an inspection fee.
24               Other than that, we have, you know, our
25   baseline pricing per services.           But that's really
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                                                                     Page 39
 1   the only out-of-the-ordinary one, I guess.
 2         Q.    Inspection fee of, how much is that?
 3         A.    150 bucks.
 4         Q.    And then you mentioned the baseline
 5   pricing.
 6               Is that in the form of a written document
 7   of some kind?       How's that communicated to you?
 8         A.    Again, per job.        It depends on the size of
 9   the house, how much material you're using.                 That's
10   all the specifics that go into an estimate.
11         Q.    How do you -- how would you gen -- or,
12   create, after your inspection, using the baseline
13   pricing, the -- an estimate such as the one on PX 21
14   in front of you?
15         A.    As in how do I come up with a price?
16         Q.    Yes.
17         A.    Again, material size of the house, square
18   footage.    How bad the issue is.          Where in the house;
19   is it easy to access?         Do you have to get on the
20   roof at all?        Do you have go in a crawlspace?
21               There's a lot of factors into it.
22         Q.    When you're -- so what sort of information
23   is in the baseline?        Is there a baseline pricing
24   document?
25         A.    So we have like your baseline estimate
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                                                                    Page 40
 1   for, say, our bottom-line quarterly.              And it will
 2   have your -- it will have an average price on it.
 3               But very rarely is a house based off of
 4   just our bottom-line base, you know, quarterly
 5   price.
 6         Q.    And so it would be adjusted up, depending
 7   on the complexity of the job?
 8         A.    Correct.
 9         Q.    And, potentially, adjusted down if it's
10   really simple?
11         A.    Correct.
12         Q.    Other than the inspection fee, is there
13   any other, I guess, flat or standard type of service
14   fee that you -- that your company uses?
15         A.    Not that I can remember.
16         Q.    Are you involved in collecting checks or
17   payments from any customers?
18         A.    Sure.    Some pay cash, some pay check.
19         Q.    When they pay cash, how does, to your
20   knowledge, that get given to the company?
21         A.    It all gets -- we all bring it right back
22   to the office.      You know, we collect -- we have a
23   nice filing system for all the guys.              And everything
24   everybody collects, they bring back to our location
25   on Mondays.
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                                                                    Page 41
 1         Q.    Then do you collect -- do you ever collect
 2   checks from customers?
 3         A.    Sure.
 4         Q.    Are those checks made out to Black Widow
 5   Pest Specialists, LLC?
 6         A.    They are.
 7         Q.    Then you said every Monday you come back
 8   and you give it to...?
 9         A.    Yeah, usually Blake and Kara are in the
10   office.    We have a whole filing system for
11   everything.
12         Q.    What is that filing system, to describe
13   it?
14         A.    How they deposit it, I don't know.
15               But we have, you know, an actual -- we
16   have all -- a whole binder set up, everything for,
17   like, material sign-out, any payments, and any
18   documents that need to be, you know, pushed through,
19   time-off requests, and stuff like that.
20         Q.    In connection with your job, would you say
21   you speak to Blake regularly, or --
22         A.    Yes.
23         Q.    -- multiple times a day?
24         A.    Sometimes.
25               Sometimes I don't talk to him for
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                                                                     Page 42
 1   two days.
 2         Q.     And at, I think you said, 108 Curtiss
 3   Street, does Kara work there?
 4         A.     She does sometimes.         She works from home
 5   other times.
 6         Q.     Going back to the sales function, how is
 7   it that you get -- strike that.
 8                Do you ever get referrals for your
 9   business -- for the business?            Do other people ever
10   get -- refer friends to the -- that they know, that
11   you've worked on their homes?
12         A.     Sure.    Just current --
13                MR. CARROLL:      Objection.
14                Just give me a little time.
15                THE WITNESS:      Just current customers, you
16   know.
17   BY MR. WINTER:
18         Q.     So current customers may sometimes refer a
19   friend to the business?
20         A.     Sure.
21         Q.     And would you have knowledge of those
22   referrals?
23         A.     Only if I'm the one dealing with the
24   customer and they tell me, Hey, my cousin's house
25   has this problem.        Do you think check it out, too?
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                                                                    Page 43
 1               Other than that, no.
 2         Q.    At which point, if you get that referral,
 3   how is it input and tracked into the system?
 4         A.    If I were to get a referral in person like
 5   that, I would ask for their contact information, and
 6   reach out to them to schedule an appointment, or
 7   send it to Kara and have her reach out to schedule
 8   it.
 9         Q.    And so then once it's scheduled by Kara,
10   you would then go and do a new inspection, prepare
11   the estimate, all those things that we talked about?
12         A.    Correct.
13               (Plaintiff's Exhibit 27 was previously
14   marked.)
15   BY MR. WINTER:
16         Q.    I will hand you PX 27.
17               Is that an accurate depiction of a truck
18   that your employer uses?
19         A.    It is.
20         Q.    Is that your truck?
21         A.    I'm actually using it right now, but
22   that's not the one that I use every day.
23               We had a truck go down this week, so
24   I picked up this one and shuffled around.
25         Q.    Is there any standards or guidelines that
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                                                                    Page 44
 1   you're aware of for how those trucks are lettered or
 2   decorated with the logo?
 3         A.    No standard.
 4               We actually just picked a new lettering
 5   company and let them kind of design it, and we just
 6   matched all the trucks.
 7         Q.    And with the new letter company and the
 8   design they generated, have you seen that design?
 9         A.    Not before it's applied, no.
10               I drop the trucks off, but I have nothing
11   to do with it on the back end.
12         Q.    And then when was -- when that new design
13   was applied, does it include the logo found on PX 16
14   in front of you?
15         A.    Yes.
16         Q.    Do all the trucks include the logo on
17   PX -- that are found on PX 16?
18         A.    They do.
19         Q.    Do you see the back of that truck, on the
20   tailgate it says just "Black Widow"?              Do you see
21   that?
22         A.    I do.
23         Q.    Do all the trucks include that on the
24   tailgate?
25         A.    I don't think so.         Not in that design.
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                                                                      Page 45
 1           Q.    Do others of the trucks include
 2   "Black Widow"?
 3           A.    Yeah, yeah.
 4           Q.    And that would be on the tailgate without
 5   the spider design next to it; is that correct?
 6           A.    Correct.
 7                 I can't even remember if my truck has that
 8   or not.      I would have to look at it.
 9         Q.      Okay.
10                 Do all of the truck letterings include a
11   phone number associated with the business?
12         A.      They do.
13         Q.      Have you ever heard customers say that
14   they saw the van driving around and called?
15         A.      Maybe once or twice.
16         Q.      Do you ever -- when you are doing your
17   sales function, ever learn about how customers were
18   referred to you or how they came to you?
19         A.      I do.
20         Q.      What are some examples of that?
21         A.      Word of mouth.
22         Q.      When you say "word of mouth," what do you
23   mean?
24         A.      Word-of-mouth referrals.
25         Q.      So they would -- so word-of-mouth referral
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                                                                    Page 46
1    would be that someone identified Black Widow Pest
 2   Specialists, and recommended that customer call
 3   Black Widow Pest Specialists?
 4         A.     Or current customers referring us to new
5    ones.
6          Q.     To your knowledge, have any of those
7    referrals referred to anything other than the
8    company name?
9          A.     No.
10         Q.     Are you familiar with, other than the
11   Catseye one, other pest control companies in
12   Connecticut?
13         A.     Sure, yeah.
14         Q.     If you were to list, based on your
15   experience in the industry, the three biggest, what
16   would they be?
17         A.     Orkin, Terminix, Catseye, Fox
18   (indiscernible).
19            (Reporter clarification.)
20                THE WITNESS:      Fox Pest Control.
21   BY MR. WINTER:
22         Q.     In terms of Orkin, when you said they're
23   one of the largest pest controls in Connecticut --
24   pest control companies in Connecticut, what would
25   you say is their size relative to your current
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                                                                     Page 47
 1   company?
 2         A.    Oh, I have no idea.
 3         Q.    In an order of magnitude, what do you
 4   think?
 5         A.    Couldn't tell you.
 6         Q.    Would that be the same answer for Terminix
 7   and Fox?
 8         A.    Yeah.
 9         Q.    Then, Catseye, do you know how large they
10   are in Connecticut?
11         A.    Customer base, I don't know.               But they
12   service more than just Connecticut.             They do
13   New York and Massachusetts and Rhode Island.
14         Q.    Do they -- does Catseye, to your
15   knowledge, have a single location in Connecticut or
16   multiple locations in Connecticut?
17         A.    When I worked there they only had a
18   Cromwell location.       But they were talking about
19   opening a new one down in Fairfield County.                  I don't
20   know if they ever did that or not.
21         Q.    Do you have any idea of how many trucks
22   Catseye had on the road, in general?
23         A.    All of them?
24         Q.    Yeah.
25         A.    Just for Connecticut, probably anywhere
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                                                                    Page 48
 1   from, like, 14 to 20, 15 to 20.
 2         Q.    And your company, how many trucks are on
 3   the road at any given point?
 4         A.    Four to five.
 5         Q.    So Catseye is, roughly, three to four to
 6   five -- three to five times the size in terms of the
 7   number of trucks as compared to your company?
 8         A.    I mean, if you're going off of just the
 9   amount of employees they have, I don't think that
10   would be accurate.       I would probably go off their
11   customer base versus how many employees they have.
12         Q.    Well -- so based on their customer base,
13   how large --
14         A.    That, I couldn't tell you.
15         Q.    Do you have any knowledge of the size of
16   your company's customer base?
17         A.    Uh-uh.
18         Q.    You have to --
19         A.    No.
20         Q.    You're getting a lot better.
21            (Reporter interruption.)
22         Q.    Do you consider your company to be one of
23   the larger pest control companies in Connecticut?
24         A.    No.
25         Q.    When I say "larger pest control
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                                                                    Page 49
 1   companies," what would you qualify that as?                 What is
 2   a larger pest control company?
 3         A.     One of these on the list.
 4         Q.     So what -- what characteristics of those
 5   companies make them one of the larger?
 6         A.     I guess the amount of employees, amount of
 7   customers.     The amount that they put into
 8   advertising, marketing.        I mean, all of it.
 9            (Off the record.)
10   BY MR. WINTER:
11         Q.     Are you aware of the amount of advertising
12   that your company does?
13         A.     No.
14         Q.     Do you -- are there any companies that you
15   would consider to be your company's main competitors
16   in Connecticut?
17         A.     No.    I don't think we have any
18   competition.
19                Any of the larger companies are kind of in
20   their own bracket.
21         Q.     What do you mean by that?
22         A.     They're so large, and they have the money
23   to do all of their advertising and set billboards
24   and et cetera, et cetera.         So it just puts them in a
25   different size bracket I would say.
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                                                                    Page 50
 1         Q.    From a pricing perspective, does that make
 2   you-all less expensive?
 3         A.    No.
 4         Q.    When you say you don't have any
 5   competition, what do you mean by that?
 6         A.    I would say that anybody -- any other
 7   company that we were, quote/unquote, competing with
 8   is pretty much at the same level as us.
 9         Q.    When you say same "levels of us," would
10   you consider -- would that be small? medium? large?
11   How would you describe the level?
12         A.    Small -- sorry.
13               Small.
14         Q.    So you would agree that your current
15   company is a small pest and wildlife control
16   company?
17         A.    Yes.
18         Q.    Would there be a medium category that you
19   would consider to exist?
20         A.    Sure.
21         Q.    What would be the characteristics of a
22   medium-size pest and wildlife control company?
23         A.    Probably a company in between, you know,
24   8 to 10 employees with a larger customer base.
25         Q.    Do you know of any examples of such
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                                                                     Page 51
1    companies in Connecticut?
 2         A.     Not off the top of my head.
3          Q.     And then the larger ones you mentioned --
4    Orkin, Terminix, Catseye, and Fox -- would you
5    consider those to be more regional or national
6    brands?
7          A.     Regional.
8                 I'm not sure how far Orkin or Terminix
9    goes.      But like I said, I know Catseye services
10   New England.
11         Q.     Are you aware of any discussions or
12   efforts of your company to expand outside of
13   Connecticut?
14         A.     No.
15                (Plaintiff's Exhibit 25 was previously
16   marked.)
17   BY MR. WINTER:
18         Q.     I'm handing you a document there, marked
19   PX -- or, Plaintiff's Exhibit 25.
20                Do you see that in front of you?
21         A.     I do.
22         Q.     On the bottom, do you see your company's
23   logo, the same one that's on PX-16?
24         A.     I do.
25         Q.     Have you ever seen the logo on the top
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                                                                    Page 52
 1   before?
 2         A.    Never.
 3         Q.    Would you agree both logos include the
 4   words "Black Widow" in there?
 5         A.    They do, in different fonts.
 6         Q.    Do both logos include the color black?
 7         A.    They do.
 8         Q.    Do both logos include the color red?
 9         A.    They do.
10         Q.    Do both logos include a drawing of a
11   spider?
12         A.    They do.     One is more animated.
13         Q.    Which one is more animated?
14         A.    The top one.
15         Q.    They both include the word "Pest"; is that
16   correct?
17         A.    They do.
18         Q.    The words "Black Widow" in both logos are
19   of the largest font size; is that correct?
20         A.    They do.
21         Q.    If you had to approximate the relative
22   font size in the bottom logo, what would you say it
23   is between "Black Widow" and "Pest Specialists"?
24               MR. CARROLL:      Objection.
25               THE WITNESS:      The difference in size?
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                                                                    Page 53
 1   BY MR. WINTER:
 2         Q.    Is it like double?        Is it triple?
 3               What do you think?
 4         A.    I would say it's double.
 5         Q.    And then in the logo on the top, would you
 6   say it's roughly double or triple?
 7         A.    Triple or quadruple.
 8         Q.    Would you agree that the words
 9   "Black Widow" are used with emphasis in both logos?
10               MR. CARROLL:      Objection.
11               THE WITNESS:      Yeah.
12               More so this one because of the font.
13   BY MR. WINTER:
14         Q.    "This one" meaning the top one?
15         A.    Correct.
16         Q.    When customers call your company or refer
17   to your company, they usually refer to them using
18   the words "Black Widow"; is that correct?
19         A.    They do.
20         Q.    And, again, when you call back customers,
21   you always use the words "Black Widow" to identify
22   the company; is that correct?
23         A.    I do.
24         Q.    Are you aware of what a "trademark" is?
25         A.    Sure, yeah.
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                                                                    Page 54
 1         Q.    What's your awareness of what a trademark
 2   is?
 3         A.    I would say what a company uses to
 4   represent theirself.
 5         Q.    Do you think the trademark is important
 6   for the company to identify themselves to customers?
 7               MR. CARROLL:      Objection.
 8               THE WITNESS:      Sometimes, yeah.
 9   BY MR. WINTER:
10         Q.    Would you agree that a trademark is how
11   customers recognize companies?
12               MR. CARROLL:      Objection.
13               THE WITNESS:      Sometimes.
14   BY MR. WINTER:
15         Q.    Have you ever heard of, before today, I'm
16   pointing to the top of Plaintiff's Exhibit 25,
17   "Black Widow Termite & Pest Control Corp."?
18         A.    Before this, no.
19         Q.    "Before this" meaning this deposition?
20         A.    Uh-huh.
21         Q.    You have to say "yes."
22         A.    Yes.
23         Q.    Prior to seeing that reference in front of
24   you, too, Black Widow Termite Pest Control Corp.,
25   had you ever heard of any other company using
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                                                                    Page 55
1    "Black Widow" for pest control services?
2          A.    No.
3          Q.    Have you ever googled "Black Widow"?
4          A.    Other than our own, no.
5          Q.    So you would have searched on Google,
6    "Black Widow"?
7          A.    If I google "Black Widow Pest
8    Specialists," we're the only one that comes up.                   And
 9   the only other time I ever go on there is to look at
10   Google Reviews.
11         Q.    Why do you look at Google Reviews?
12         A.    To see what the customers are saying.
13         Q.    And so you have personally gone onto
14   Google and typed -- what would you type in?
15         A.    "Black Widow Pest Specialists."
16         Q.    And you said your company is the only one
17   that comes up?
18         A.    Uh-huh.
19               You know, I've never gone searching.                I'm
20   usually just going (indiscernible), like I said, our
21   Google Reviews, so....
22         Q.    Do you know who Jim Horton is?
23         A.    I know him, yeah, not personally.               But
24   I've seen him at conferences before.
25         Q.    So you've -- you've spoken to him
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                                                                    Page 56
1    personally?
2          A.     I've met him, said Hi, but no personal
3    conversations.
4          Q.     Do you know where -- do you know what he
5    does for work?
6          A.     I think he has something to do with NWCO,
7    like the NWCO board, maybe.           I think he was at the
8    wildlife expo.
9          Q.     Where was the wildlife expo?
10         A.     In Houston.
11         Q.     Did you visit the wildlife expo in
12   Houston?
13         A.     Uh-huh -- yes.
14         Q.     Was that wildlife expo in Houston this
15   year in February?
16         A.     Yes.
17         Q.     Did you go with Blake?
18         A.     I did.
19         Q.     Did you meet anyone named
20   Shane Dietrich [ph.] there?
21         A.     Not me.
22         Q.     Did you meet Jonas Olson there?
23         A.     That name sounds familiar, but I didn't
24   meet him.
25         Q.     Why does that name sound familiar?
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                                                                     Page 57
1          A.     I'm pretty sure I heard of him at the
2    expo.
3          Q.     Under what -- sorry.         Did you finish your
4    answer?
5          A.     I can't remember where I would have heard
6    him, though.        I think it was something along the
7    lines of me sitting in on, like -- they held, like,
8    individual classes and courses while I was there.
9                 You know, it was just somebody saying, I'm
10   going to meet up with Shane after this.
11                But nothing personal.
12           Q.   Have you ever heard of Pest Badger or
13   Turf Badger?
14           A.   No.
15           Q.   How about Pest Control Millionaire
16   podcast?
17           A.   That one I have, yeah.
18           Q.   How have you heard of that one?
19           A.   That, I actually listened in to.
20           Q.   Do you listen in to it regularly?
21           A.   Uh-uh.     Just that one.
22           Q.   "That one" meaning the one that Blake
23   appeared on?
24           A.   Yeah.
25           Q.   Why did you listen in on that one?
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                                                                    Page 58
1          A.    Just because he said he had did a podcast.
2    I don't -- I didn't know much about it.
3          Q.    Did you have any impressions or thoughts
4    on the podcast or what it did for visibility of your
5    company?
6                MR. CARROLL:      Objection.
 7               THE WITNESS:      No.
 8               (Plaintiff's Exhibit 24 was previously
 9   marked.)
10   BY MR. WINTER:
11         Q.    Getting back to Jim Horton, I'm handing
12   you a document marked Plaintiff's Exhibit 24.
13               Have you ever seen the photos?
14         A.    No.
15         Q.    Jim Horton, to your knowledge, does he --
16   do you have any knowledge of whether he services
17   New York customers?
18         A.    I mean, I'm assuming so, he was able to
19   see some of their customers.
20         Q.    When you say "their customers," what do
21   you refer to?
22         A.    This Black Widow.
23         Q.    So you're pointing to --
24         A.    These glue boards.
25         Q.    So in PX 24 there's a photo on the left
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                                                                     Page 59
 1   side.
 2                And when you're mentioning the glue
 3   boards, it's one that displays the top logo on
 4   Plaintiff's Exhibit 25.          Correct?
 5         A.     Correct.
 6         Q.     Just so you know the reason I did that is
 7   because pointing doesn't show up on the written
 8   record.
 9         A.     Correct, yeah.
10         Q.     And so you recognize that logo as -- that
11   logo in the photo, PX 20 -- Plaintiff's Exhibit 24,
12   as the same logo on the top of Plaintiff's
13   Exhibit 25 immediately; is that correct?
14         A.     I do.     They're distinctively different.
15         Q.     And do you see this text message mentions
16   "It's Merina" [ph.]?
17         A.     Uh-huh.
18         Q.     Who's Merina?
19         A.     Our old office girl.
20         Q.     And what was her -- what were her job
21   responsibilities?
22         A.     Customer service, I guess.            Answering
23   phones.    Scheduling.
24         Q.     Is that the same role that Kara currently
25   holds?
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                                                                     Page 60
 1         A.    It is.
 2         Q.    Did Merina and Kara, I guess, share that
 3   role?
 4         A.    You could say so, yeah.
 5               They would relieve each other, if phone
 6   call stress.        They would bounce back and forth.
 7         Q.    And are you aware that Merina was recently
 8   fired?
 9         A.    Uh-huh -- yes.
10         Q.    Do you know why?
11         A.    No.
12         Q.    Are you aware or have you -- did you
13   witness any insubordination by Maria?
14         A.    No.
15               Merina?
16         Q.    Merina.
17               Are you aware of any raised voices or
18   angry interactions between Merina and Blake?
19         A.    No.      She's pretty sweet, actually.
20         Q.    Are you aware of Merina failing to follow
21   directions or instructions?
22         A.    No.
23         Q.    Would it surprise you that it's been
24   alleged that she did fail to follow directions and
25   instructions?
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                                                                    Page 61
 1               MR. CARROLL:      Objection.
 2               THE WITNESS:      Yeah.
 3   BY MR. WINTER:
 4          Q.   Why do you say that?
 5          A.   She was a good employee.
 6          Q.   Would it surprise you to hear that it's
 7   been alleged that there was insubordination by
 8   Merina?
 9               MR. CARROLL:      Objection.
10               THE WITNESS:      Sure.
11   BY MR. WINTER:
12          Q.   And, again, why would that be?
13          A.   Just 'cause -- I mean, I didn't --
14   I didn't really have a personnel relationship with
15   her.    I only know her as much as talking to her
16   through the office.
17               So from what I know of her, she seemed
18   like pretty straight, sweet person.
19          Q.   On the Pest Control Millionaire podcast,
20   do you recall Blake stating or referencing
21   rebranding or a name change?
22          A.   Yeah.    I didn't listen to the whole thing,
23   but I think I do.
24          Q.   Why is that something that you remember?
25          A.   Obviously, because that's something that
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                                                                    Page 62
 1   would stand out to me.        It would have an effect on
 2   me and the company, I would assume.
 3         Q.    What sort of effect do you think that
 4   would have?
 5         A.    Position, role.       I guess just any future
 6   changes, you know, gets you thinking about anything.
 7         Q.    When referencing a name change or
 8   rebranding, when that -- what did you think would
 9   happen if that were to come to play?
10               MR. CARROLL:      Objection.
11               THE WITNESS:      I mean, I don't -- I would
12   assume that I would be a part of it, if that's what
13   you're asking.
14   BY MR. WINTER:
15         Q.    Why do you say that?
16         A.    I'm a good employee here.           I'm -- I would
17   like to say that I would, you know, be carried on
18   into the future.
19         Q.    Is there any other reasons that the
20   reference to a rebranding or name change stood out
21   to you from that podcast?
22         A.    No.
23         Q.    Did it concern you that there was
24   contemplations of that?
25         A.    No.
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                                                                     Page 63
 1         Q.    When you call customers back, do you use a
 2   company phone or your personal phone?
 3         A.    Personal.
 4         Q.    Does the company pay for your personal
 5   phone?
 6         A.    No.     But when we call, we usually call
 7   through GorillaDesk, which -- it generates a phone
 8   number for you.
 9         Q.    I see.
10               So when a -- when you call through
11   GorillaDesk Desk, to your knowledge, would the
12   customer then see, say, the number on PX 16 --
13         A.    No.
14         Q.    -- called?
15         A.    No.
16         Q.    What do you mean by that, "it generates a
17   number"?
18         A.    So GorillaDesk uses an outsource app
19   called Grasshopper.
20         Q.    Okay?
21         A.    So I'm pretty sure it just generates --
22   like, it generates a phone number, I guess, for that
23   transaction.        I'm not exactly sure if it's a
24   different phone number every time.              I haven't asked
25   the customer what number comes through.
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                                                                     Page 64
 1                But I know that they -- when they receive
 2   a text or call, they don't get our actual personal
 3   numbers.
 4         Q.     And do you always communicate with
 5   customers through Grasshopper/GorillaDesk?
 6         A.     Unless they have a landline, older
 7   customers.
 8         Q.     And so then, if they have a landline, you
 9   would call them on your personal cell phone; is that
10   correct?
11         A.     Sure.    You -- in that instance, it's
12   usually just, Hey, I'm on the way, you know.
13         Q.     Is there any reason or policy that you're
14   aware of for why all those calls, except for
15   landlines, are routed through GorillaDesk or
16   Grasshopper?
17         A.     Not specifically.
18         Q.     Do you have any reason why -- do you --
19   are you aware of any reason why that would be a good
20   thing to do?
21                MR. CARROLL:      Objection.
22                THE WITNESS:      I guess it would keep a
23   record of your phone call history or text history.
24   BY MR. WINTER:
25         Q.     Have you ever looked in GorillaDesk or
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                                                                    Page 65
 1   Grasshopper to see records of text messages with
 2   customers?
 3         A.     You can only see, I mean, what's been said
 4   between the office and -- anybody that sends a
 5   message to that customer, like, we all have
 6   individual profiles.        So, like, if each one of us
 7   were to talk to one customer, it would come up with
 8   each of our names.       So you can see previous
 9   conversations, but beyond that it's not very
10   extensive.
11         Q.     Have you ever received calls or texts, or
12   are you aware of any, from customers searching for a
13   New York Black Widow company?
14         A.     Never.
15         Q.     They could exist, but you're just not
16   aware of them; is that correct?
17                MR. CARROLL:     Objection.
18                THE WITNESS:     I mean, I guess a company
19   could exist anywhere.
20            (Reporter clarification.)
21                THE WITNESS:     A company could exist
22   anywhere.
23   BY MR. WINTER:
24         Q.     Are you aware of where my client's company
25   exists?
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                                                                    Page 66
 1         A.    I've picked up from this deposition that
 2   they're out of state.
 3         Q.    Are you aware that they're in New York?
 4         A.    I am now.
 5         Q.    All right.
 6               Have you ever seen a customer list of your
 7   company's customers?
 8         A.    No.     I don't have access to that stuff.
 9         Q.    When you say you don't have access to it,
10   is -- that access, would that be through
11   GorillaDesk Desk if you did have access?
12         A.    So I can -- I can -- I guess I could
13   search a current customer base if we have serviced
14   them through GorillaDesk.
15               But like a personal complete customer
16   base, no.
17         Q.    So when you go and search for a particular
18   customer, what sort of information is stored in
19   GorillaDesk?
20         A.    Name, address, phone number, e-mail.
21         Q.    Is there information concerning pricing or
22   invoices also stored in GorillaDesk?
23         A.    If they had been sent an estimate or
24   pricing that they haven't decided on, yeah, you can
25   go back and look at previous invoices and estimates.
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                                                                    Page 67
 1         Q.    When you mentioned earlier that you're
 2   involved in generating invoices or estimates, how do
 3   they actually get sent to customers?
 4         A.    Via e-mail.
 5         Q.    So do you personally e-mail them to the
 6   customers or does somebody else do that?
 7         A.    The GorillaDesk.
 8         Q.    So would you go into GorillaDesk, create
 9   the invoice or the estimate contents, and then hit
10   and say, Send, and it would then automatically send
11   to the customer?
12         A.    Well, you'll typically always get a
13   signature, even on an estimate.           And then confirm
14   that you have the right e-mail, and, yeah, send it
15   right to their personal e-mail.
16         Q.    And then, when sending that, does that get
17   saved in GorillaDesk?
18         A.    Uh-huh.
19         Q.    You have to say --
20         A.    Yes.
21         Q.    You're getting a lot better -- you're
22   getting a lot better at it.
23               Have you ever heard the name David Cass
24   before?
25         A.    No.
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                                                                    Page 68
 1         Q.    Have you ever heard of the Burlington
 2   Chamber of Commerce?
 3         A.    Yes.
 4         Q.    In what way have you heard of them?
 5         A.    So I've heard of, like, the BNI network,
 6   you know, like networking groups, and stuff like
 7   that.
 8               I assume it's just another networking
 9   group.
10         Q.    What is "BNI"?
11         A.    It's like Connecticut networking groups.
12         Q.    Did you ever go to Burlington Day?
13         A.    I did.
14         Q.    What was Burlington Day?
15         A.    It was like a job fair, I guess, you know.
16         Q.    And did you go there with Blake?
17         A.    I did.
18         Q.    And were you wearing a shirt containing
19   your company's logo as shown on PX 16?
20         A.    I was.
21         Q.    What was the -- what was your company's
22   setup or display at that -- at Burlington Day?
23         A.    We just had a tent, with a table.
24         Q.    Did the tent and table have your company's
25   logo on it?
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                                                                     Page 69
 1         A.     It did.
 2         Q.     Were there any pamphlets or flyers or
 3   other things handed out?
 4         A.     Brochures.
 5         Q.     Would you call those a trifold brochure?
 6         A.     Sure.
 7         Q.     What's on the trifold brochure?
 8         A.     On the front, our logo.
 9                On the inside, like brief descriptions of
10   how we like to manage pests.           You know, services
11   that we offer.
12         Q.     Do you know whether or not your company is
13   a member of the Burlington Chamber of Commerce?
14         A.     I don't.
15         Q.     Was it ever explained to you or told why
16   you were going to Burlington Day?
17         A.     No.     Just to help out with some
18   advertising.
19         Q.     At Burlington Day, were there potential
20   customers that you spoke with and handed marketing
21   materials to?
22         A.     Sure.
23         Q.     And were those mostly residential
24   customers?
25         A.     Yes.
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                                                                     Page 70
1          Q.     Are you aware that Burlington Chamber of
 2   Commerce did a Facebook post about your company?
 3         A.     No, I did not.
4          Q.     Are you aware that you can tag companies
5    in a Facebook post?
6          A.     (Witness nods head.)
7          Q.     Have you ever tagged other people in a
8    Facebook --
9          A.     Yeah, of course --
10         Q.     -- post before?
11         A.     -- of course.
12         Q.     Looking at the second page, do you see
13   that spider logo at the top?
14         A.     I do.
15         Q.     And do you see that that refers to
16   Black Widow Termite & Pest Control Corp.?
17         A.     I do.
18         Q.     And that's not your company; correct?
19         A.     Correct.
20         Q.     And below that is your company's logo; is
21   that correct?
22         A.     Correct.
23         Q.     And so if you go back to the first page,
24   you can't see that other logo associated with
25   Black Widow Termite & Pest Control on the Facebook
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                                                                    Page 71
 1   post; is that correct?
 2         A.    Correct.
 3         Q.    Go to the third page of this.
 4               Do you see your company logo on the third
 5   page of that exhibit?
 6         A.    I do.
 7         Q.    And your company logo refers to the one at
 8   PX 16; is that correct?
 9         A.    Correct.
10         Q.    Were there any special offers delivered at
11   Burlington Day?
12         A.    Free inspections.
13         Q.    So you waived the $150 inspection fee?
14         A.    Correct.
15         Q.    Any idea why that was done?
16         A.    Just to generate a new customer base.
17         Q.    Other than you and Blake, who from your
18   company was there?
19         A.    That's it.
20         Q.    Do you know who Rochelle or Rachel Burr
21   is?
22         A.    Burr?
23         Q.    Burr.
24         A.    Uh-uh.
25         Q.    In Brookfield, Connecticut?
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                                                                     Page 72
1          A.     Uh-uh.
2                 MR. CARROLL:      You have to say "yes" or
3    "no."
4                 THE WITNESS:      No.
5    BY MR. WINTER:
6          Q.     We talked the rebranding or name change.
7                 Did you ever ask Blake about that?
8          A.     No.
9          Q.     Have you personally, on behalf of your
10   company, done pest control for commercial buildings?
11           A.   Sure.
12           Q.   And you've done so under the company name
13   Black Widow; is that correct?
14           A.   Correct.
15           Q.   And have you ever personally done, for
16   your company, pest control for residential homes
17   under the name Black Widow?
18           A.   I have.
19           Q.   Have you ever personally done, under the
20   name Black Widow, for your company termite and pest
21   control services other than for agriculture,
22   aquaculture, horticulture, and forestry?
23           A.   I have.
24           Q.   Have you done, throughout your time
25   employed with your company, all of those services?
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                                                                    Page 73
 1         A.    I have.
 2         Q.    Is that on a regular basis?
 3         A.    Everything, except for termites, very
 4   seldom.
 5         Q.    Have you ever seen a black widow spider in
 6   person?
 7         A.    No.
 8         Q.    To your knowledge, do black widow spiders
 9   exist in Connecticut?
10         A.    I don't think so.
11         Q.    To your knowledge, do black widow spiders
12   exist in New York?
13         A.    I don't think so.
14         Q.    To your knowledge, going from Connecticut
15   towards California, where would you think the first
16   location you'd find black widow spiders is?
17         A.    Probably in like western Virginias, maybe,
18   like where the climate starts to stay a little
19   warmer.
20         Q.    So it's a southern pest?           Is that --
21         A.    I would say, yeah.
22         Q.    Prior to viewing the Pest Control
23   Millionaire podcast that Blake appeared on, did you
24   ever speak to him or hear from him about how he came
25   up with the name "Black Widow"?
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                                                                    Page 74
1                 MR. CARROLL:     Objection.
2                 THE WITNESS:     I think it's just his last
3    name.
4    BY MR. WINTER:
5          Q.     His last name is not "Widow," though.               Is
 6   that correct?
 7           A.   No.    It's Black.
 8           Q.   For -- are you aware that, black widow
 9   spiders, the female is considered the aggressor
10   of --
11           A.   No.
12           Q.   So throughout New England, would you agree
13   with me that black widow spiders are not at all
14   common pests?
15           A.   I would.
16           Q.   So you have no personal experience of ever
17   eliminating or removing or otherwise treating black
18   widow spiders at any homes; is that correct?
19                MR. CARROLL:     Objection, asked and
20   answered.
21                THE WITNESS:     Correct.
22                I'm not sure if that's a typical service
23   for any pest control company.
24   BY MR. WINTER:
25           Q.   You don't think it's a typical service for
Case 3:23-cv-01246-RNC   Document 123-21   Filed 06/18/25   Page 76 of 108



                                                                    Page 75
 1   any pest control company?
 2         A.    Not frequently at least, you know, not
 3   around here.
 4         Q.    So you don't believe that the black widow
 5   spider is a common pest?
 6         A.    Not in --
 7               MR. CARROLL:      Objection, asked and
 8   answered.
 9               THE WITNESS:      -- Connecticut.
10   BY MR. WINTER:
11         Q.    So it could be a common pest in, say,
12   Florida, but you just don't have personal knowledge
13   of that?
14               MR. CARROLL:      Objection.
15               THE WITNESS:      I mean, sure, if they --
16   wherever they do live is probably where they would
17   be a more common issue.
18   BY MR. WINTER:
19         Q.    How about spiders in general, do you often
20   get called to deal with spiders?
21         A.    Sure.
22         Q.    What type of spiders?
23         A.    Typically your basement residers.
24               A lot of the times it's cobwebs and, you
25   know, daddy longlegs.        Nothing crazy.
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                                                                    Page 76
 1         Q.    So you wouldn't consider that to be like a
 2   spider infestation, or something; is that right?
 3         A.    No.
 4            (Indiscernible overtalking.)
 5         Q.    Sorry.     Continue.
 6         A.    I mean, any -- any damp, cobweb-ridden
 7   basement would technically be a, you know, spider
 8   infestation.
 9               However, spiders are easily treatable with
10   humidity regulation instead of insecticide.
11         Q.    So just getting your basement to be dry
12   generally eliminates spiders; is that correct?
13         A.    Correct.     A little IPM.
14            (Reporter clarification.)
15               THE WITNESS:      IPM (integrated pest
16   management).
17               (Plaintiff's Exhibit 34 was previously
18   marked.)
19   BY MR. WINTER:
20         Q.    I'm handing to you Plaintiff's Exhibit 34.
21               Turn to page 10, Interrogatory Number 18.
22               Do you agree with me?
23         A.    I do.
24         Q.    Do you see your name listed there?
25         A.    I do.
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                                                                     Page 77
1          Q.     Were you ever informed that you may be
 2   called as a witness in this lawsuit?
 3         A.     Yeah.
4          Q.     At which point were you first informed
5    that you may be called as a witness?
6          A.     I think I was told about the deposition
7    like two weeks ago.
8          Q.     This --
9          A.     Other than that, that's all I knew.
10   I didn't know why or what reason I had anything to
11   do with it.
12         Q.     So I'm turning to the last page of this.
13   It's dated February -- or, the 15th page of this
14   document, do you see it's dated February 28, 2024?
15         A.     Uh-huh.
16         Q.     Prior to February 28, 2024, were you ever
17   informed that you may be a witness in this lawsuit?
18         A.     No.
19         Q.     You see there's several names on that
20   response in front of you on page 10?
21         A.     I do.
22         Q.     Jim Horton, I think you said earlier that
23   you've seen him or met him in person before?
24         A.     Uh-huh -- yes.
25         Q.     Then Merina Sabatucci [ph.], that is the
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                                                                    Page 78
 1   former office manager, or office girl as you put it,
 2   for your company; is that correct?
 3          A.   Yes.
 4          Q.   And then next is your name; correct?
 5          A.   Correct.
 6          Q.   Who's Robert Scribner, to your knowledge?
 7          A.   He owns Scribner Pest Control, I think
 8   that's the name, in Connecticut --
 9          Q.   What --
10          A.   -- or Scribner Pest Services.              I don't
11   remember.
12          Q.   What do you know about Robert Scribner,
13   other than he's in a pest control company?
14          A.   About him?
15          Q.   Well, let me strike that.
16               What do you know about his relationship to
17   your company?
18          A.   Other than being friends or acquaintances,
19   I don't think we have any personal relationship with
20   him.
21          Q.   Have you ever spoken to Robert Scribner
22   before?
23          A.   (Witness nods head.)
24               MR. CARROLL:      Is that a "yes" or "no"?
25               THE WITNESS:      Yes.
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                                                                     Page 79
1    BY MR. WINTER:
 2         Q.     How frequently have you spoken to
3    Robert Scribner?
4          A.     Maybe once every couple months.
5          Q.     And under what context, or what's the
6    subject matter you're speaking to him about, in
7    general?
8          A.     Him needing a quote on a job.
9                 He's trying to dabble in wildlife.                So
10   he'll reach out and say, Hey, what kind of pricing
11   would you do on this home?            Or, How can I do this?
12                You know, he reaches out to me for advice
13   on how to do some of the work.
14         Q.     Does Robert Scribner's service area
15   overlap with your company's service area?
16         A.     It does.
17         Q.     Do you know where his company is located?
18         A.     I think in the New Milford area.
19         Q.     Has he ever referred business to your
20   company, to your knowledge?
21         A.     Yes.
22         Q.     How does that come about?
23         A.     Like I said, he's just dabbling in
24   wildlife.     So anything that he can't handle, like,
25   if he gets a call for a four-story bat job, that he
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                                                                    Page 80
1    doesn't know how to get access to the roof, that's
 2   something that he'd probably refer to us because he
 3   knows that we know how to do it.
 4         Q.     And how would that referral come through?
5          A.     Word of mouth.
6          Q.     So would he tell -- would you hear from
7    the customer that he's referring you to first, or
8    would they give you the name of the customer that
9    you would then call them?
10         A.     I couldn't tell you.         I'm just the one
11   that shows up.
12         Q.     Got it.
13                Russell Sieb, do you know who that is?
14         A.     Never heard of him.
15         Q.     Drew Crowley [sic], do you know who that
16   is?
17         A.     Cowley?    Yeah, I do.
18         Q.     Who's that?
19         A.     He owns Cowley Pest in New Jersey.
20         Q.     And have you met him before?
21         A.     I have.
22         Q.     Where?
23         A.     They held a harness and rope training
24   course at his location.         I saw him there.         But the
25   first time I met him was at the expo.
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                                                                     Page 81
1          Q.     The expo in Houston?
 2         A.     Uh-huh -- yes.
3          Q.     How did you come about meeting him at the
4    expo in Houston?        Who was there?
5          A.     He taught a couple courses.
6                 And, you know, we dabble, bouncing
7    information off of Keith.
8                 I think Keith Marken [ph.] is his name,
9    who taught the rope course.
10                And they're all close.
11                So when we were there, we were all just
12   kind of, you know, shooting craps in a circle.
13         Q.     Other than you and Merina on that list in
14   front of, to your knowledge, none of those
15   individuals have been associated with your company;
16   is that correct?
17         A.     Correct.
18                MR. WINTER:     Why don't we take a break.
19                Let's see if -- I don't know if I have a
20   whole lot more.       I just want to look through my
21   notes.
22                THE WITNESS:      Sure.
23            (Off the record.)
24   BY MR. WINTER:
25         Q.     At any time, have you discussed a
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                                                                    Page 82
 1   rebranding or a name change with Blake?
 2         A.    No.
 3         Q.    When was the first time you learned about
 4   this lawsuit?
 5         A.    Other than what I knew about the
 6   deposition, just letting me know that I had to come
 7   here at a certain date and time, no, I didn't.
 8         Q.    And the trip to Houston, what was the
 9   purpose of that trip?
10         A.    To attend the expo, take courses, gain
11   some knowledge.
12         Q.    Were there any discussions at that expo
13   about expansion of your company, that you're aware
14   of?
15         A.    Not with me.
16               MR. WINTER:      I don't think I have anything
17   else.
18               MR. CARROLL:      Nothing from me.
19               MR. WINTER:      All right.      I think we've off
20   the record.
21            (At 11:47 a.m., the taking of the deposition
22       concluded.)
23            (The witness reserved the right to read and
24       sign the deposition transcript.)
25            (At 11:47 a.m., the record was closed.)
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                                                                     Page 83
 1                       C E R T I F I C A T E

 2

 3   STATE OF CONNECTICUT )
                          ) ss.
 4   COUNTY OF FAIRFIELD )

 5

 6        I, MERCEDES SHELDON, a court reporter within the

 7   state of Connecticut, and a notary public in and for the

 8   State of Connecticut, do hereby certify:

 9        That MICHAEL CAMILINI, the witness whose deposition

10   is hereinbefore set forth, was duly sworn by me, and

11   that such deposition is a true record of the testimony

12   given by the witness.

13        I further certify that I am not employed by nor

14   related to any of the parties to this action by blood or

15   marriage, and that I am in no way interested in the

16   outcome of this matter.

17        IN WITNESS WHEREOF, I have hereunto set my hand

18   this 26th day of September, 2024.

19

20

21   ________________________________________________
     Mercedes Sheldon - Shorthand Reporter
22   Notary Public - State of Connecticut
     Account Number:   167303
23   Date Appointed:   09/01/2024
     Expiration Date: 08/31/2029
24

25
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                                                                    Page 84
1                              J U R A T

2

3    STATE OF CONNECTICUT           )
                                    ) ss.
 4   COUNTY OF ____________________ )

 5

 6

 7         I, MICHAEL CAMILINI, the witness herein, having

 8   read the foregoing testimony of the pages of this

 9   deposition, do hereby certify it to be a true and

10   correct transcript, subject to corrections, if any,

11   shown on the attached page(s).

12

13

14                        ________________________________

15                        MICHAEL CAMILINI

16

17

18

19   Subscribed and sworn to before me this

20
     ________ day of _________________, 2024
21

22

23   ___________________________

24   Notary Public

25
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                                                                    Page 85
1                             ERRATA SHEET

 2   CASE: Black Widow Termite & Pest Control Corp. vs
           Black Widow Pest Specialists, LLC
 3
     WITNESS:    Michael Camilini
 4
     DEPOSITION DATE:       September 26, 2024
 5
     PAGE LINE
 6   _____|_____| CHANGE: _______________________________

 7                   REASON: _______________________________

 8   _____|_____| CHANGE: _______________________________

 9                   REASON: _______________________________

10   _____|_____| CHANGE: _______________________________

11                   REASON: _______________________________

12   _____|_____| CHANGE: _______________________________

13                   REASON: _______________________________

14   _____|_____| CHANGE: _______________________________

15                   REASON: _______________________________

16   _____|_____| CHANGE: _______________________________

17                   REASON: _______________________________

18   _____|_____| CHANGE: _______________________________

19                   REASON: _______________________________

20   _____|_____| CHANGE: _______________________________

21                   REASON: _______________________________

22   _____|_____| CHANGE: _______________________________

23                   REASON: _______________________________

24   _____|_____| CHANGE: _______________________________

25                   REASON: _______________________________
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